900 F.2d 254Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Restoney ROBINSON, Plaintiff-Appellant,v.H.C. HARE;  C.M. Mackey, Lt.;  Jacob L. Safron;  AttorneyGeneral of North Carolina, Defendants-Appellees.
    No. 90-7011.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 5, 1990.Decided March 19, 1990.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Greensboro.  Richard C. Erwin, Chief District Judge.  (C/A No. 89-280-G).
      Restoney Robinson, appellant pro se.
      Richard Norwood League, Office of the Attorney General of North Carolina, Raleigh, North Carolina, for appellees.
      M.D.N.C.
      DISMISSED.
      Before ERVIN, Chief Judge, and PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Restoney Robinson appeals from the district court's order denying his motion for reconsideration of the denial of his 28 U.S.C. Sec. 2254 petition.1   Our review of the record and the district court's opinion discloses that this appeal is without merit.2   Accordingly, we deny leave to proceed in forma pauperis, deny a certificate of probable cause and dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        1
         Robinson's appeal of the dismissal of his 28 U.S.C. Sec. 2254 petition was not timely and thus, this Court lacks jurisdiction to consider its merits.   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978)
      
      
        2
         We deny Robinson's motion seeking to prevent confiscation of money in his trust account by prison officials
      
    
    